
*1090OPINION.
Lansdon:
It appears from the record that the partnership in which the petitioner has a 50 per cent interest reported its income from its long-term contracts in 1919 on what is called the percentage basis, under the authority of article 36 of Regulations 45. In 1920, on account of cessation of work on the uncompleted Rogers con*1091tract, it did not use such, basis or include any profit from such contract in its gross or net income, although the books showed the accrual of such income. It is admitted that no permission for changing the method of reporting income on long-term contracts was secured from the Commissioner.
The respondent maintains that having adopted the percentage of profit or accrual method for reporting income in 1919, the partnership should have used the same method in 1920. With this position we agree. The petitioner is taxable as to one-half the distributable net income of the partnership for the year 1920, as determined by the respondent.
lío evidence having been adduced by the petitioner to overcome the respondent’s assertion of a deficiency for the year 1921, the action of the respondent for that year is approved. The respondent having-asserted no deficiency for the year 1922, the proceeding is dismissed as to that year. Appeal of Cornelius Cotton Mills, 4 B. T. A. 255.
Reviewed by the Board.

Judgment will be entered for the respondent.

SteRnhagen, Phillips, and MuRdock concur in the result.
Trussell dissents.
